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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                         FT. LAUDERDALE DIVISION

   NICOLE JOHNSON, on behalf
   of herself and those similarly
   situated,

          Plaintiff,                             CASE NO.: 21-CV-60775

   vs.

   GONZO MARKETING SERVICES,
   LLC d/b/a GMS CONNECT
   a Florida Limited Liability
   Company,

          Defendant.
                                      /

           JOINT MOTION FOR APPROVAL OF SETTLEMENT
         AND MOTION TO DISMISS THE CASE WITH PREJUDICE
              AND SUPPORTING MEMORANDUM OF LAW

         Plaintiff, NICOLE JOHNSON, on behalf of herself and those similarly

  situated (“Plaintiff”), and Defendant, GONZO MARKETING SERVICES, LLC

  d/b/a GMS CONNECT, (“Defendant”) (Plaintiff and Defendant are collectively

  the “Parties”), by and through their undersigned counsel jointly request that

  this Court approve the Parties’ settlement and dismiss the above captioned

  matter with prejudice.

                            STATEMENT OF FACTS

         1.    On April 9, 2021, Plaintiff filed a civil action in the United States

  District Court for the Southern District of Florida, Ft. Lauderdale, Division
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  Case No. 0:21-cv-60775-LSS. (See Document 1).

        2.    On May 18, 2021, Defendant filed a Motion to Dismiss for Failure

  to State a Claim with regard to Plaintiff’s Complaint. (See Doc. 13)

        3.    Plaintiff filed a First Amended Complaint Pursuant to F. R. C. P.

  15 (a)(1)(B) on June 1, 2021. (See Doc. 18)

        4.    Plaintiff’s First Amended Complaint claims entitlement to unpaid

  overtime wages, liquidated damages, and attorneys’ fees pursuant to The Fair

  Labor Standards Act (“FLSA”).

        5.    Defendant disputes Plaintiff’s claims in this action.

        6.    The Parties have agreed to fully and completely resolve this

  matter.

        7.    The Parties agree that the terms of the settlement constitute a fair

  and reasonable resolution of Plaintiff’s claims in this matter.        In fact,

  technically there is no need to the Court to review the settlement, since

  Plaintiff will receive an amount that fully compensates here for any alleged

  damages. See Lynn’s Food Stores, Inc. v. U.S. Dept. of Labor, 679 F.2d 1350

  (11th Cir. 1982). Here, there is no compromise of her claims at all.

        8.    A written Settlement Agreement has been prepared that

  memorializes the terms of the Parties’ settlement. In accordance with the

  applicable requirements for settling an FLSA claim, the Parties hereby jointly




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  seek the Court’s approval of the settlement reached in this matter. A copy of

  the Settlement Agreement is attached as Exhibit A.

        9.    Provided that the Court approves the terms of the Settlement

  Agreements, the Parties further move the Court to enter an Order granting

  the instant Motion to Approve Settlement Agreements and dismissing

  Plaintiff’s claims with prejudice.

                           MEMORANDUM OF LAW

   I.    FINAL APPROVAL OF THE SETTLEMENT IS APPROPRIATE

         A.    The Settlement is Reasonable and Fair.

   Pursuant to the case law of this Circuit, judicial review and approval of this

   tentative settlement is necessary to give it final and binding effect. Lynn’s

   Food Stores, Inc. v. U.S. Dept. of Labor, 679 F.2d 1350 (11th Cir. 1982). As

   the Eleventh Circuit held in Lynn’s Food Stores,

                “[t]here are only two ways in which back wage
               claims arising under the FLSA can be settled or
               compromised by employees. First, under section
               216(c), the Secretary of Labor is authorized to
               supervise payment to employees of unpaid wages
               owed to them.
               . . .The only other route for compromise of FLSA
               claims is provided in the context of suits brought
               directly by employees against their employer under
               section 216(b) to recover back wages for FLSA
               violations. When employees bring a private action
               for back wages under the FLSA, and present to the
               district court a proposed settlement, the district
               court may enter a stipulated judgment after
               scrutinizing the settlement for fairness.”

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   Id. at 1352-53.

        The Court should approve a FLSA settlement if it is “a fair and

   reasonable resolution of a bona fide dispute.” Id. at 1354-55. If the settlement

   reflects a reasonable compromise over issues that are actually in dispute, the

   Court may approve the settlement “in order to promote the policy of

   encouraging settlement of litigation.” Id. at 1354. In determining whether

   the settlement is fair and reasonable, the Court should consider the following

   factors:

               (i) the existence of fraud or collusion behind the settlement:
               (ii) the complexity, expense, and likely duration of the litigation;
               (iii) the stage of the proceedings and the amount of discovery
                   completed;
               (iv) the probability of Plaintiff’s success on the merits:
               (v) the range of possible recovery; and
               (vi) the opinions of the counsel.

   See Leverso v. South Trust Bank of Ala., Nat. Assoc., 18 F.3d 1527. 1531 n.6

   (11th Cir. 1994); Hamilton v. Frito-Lay, Inc., No. 6:05-cv-592-Orl-22JGG,

   2007 U.S. Dist. LEXIS 10287, at *2-3, (M.D. Fla. Jan. 8, 2007). See also Hill

   v. Florida Industrial Elec., Inc., No. 6:06-cv-915-Orl- 31JGG, 2007 U.S. Dist.

   LEXIS 9498, at *6, (M.D. Fla. Feb. 9, 2007); Pacheco v. JHM Enterprises,

   Inc., et al., No. 6:05-cv-1247-Orl-JGG, 2006 U.S. Dist. LEXIS 22066, at *4

   (M.D. Fla. Apr. 12, 2006). The Court should apply the strong presumption in

   favor of finding a settlement fair. Hamilton, 2007 U.S. Dist. LEXIS at * 2-3.

   See also Cotton v. Hinton. 559 F.2d 1326, 1331 (5th Cir. 1977).

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         B.        The Relevant Criteria Support Final Approval of the
                   Settlement.

              i.     There is no fraud or collusion behind the settlement.

        Courts have found no fraud or collusion where both parties were

   represented by counsel and the amount to be paid to Plaintiff seemed fair.

   See Helms v. Central Fla. Reg. Hosp., No. 6:05-cv-383-Orl-22JGG, 2006 U.S.

   Dist. LEXIS 92994, at *11-12 (M.D. Fla. Dec. 21, 2006). Here, each Party was

   independently represented by counsel. Defendant was represented by Shaina

   Thorpe, Esq. of Thorpe Law, P.A., and Peter Konolige, Esq. Plaintiff was

   represented by Carlos V. Leach, Esq. of The Leach Firm, P.A. All the counsel

   involved have extensive experience litigating claims under the FLSA. Each

   counsel was obligated to, and did, vigorously represent their clients’ rights.

        As discussed further below, the amounts to be paid to Plaintiff

   represents more than 100% of the damages she alleged.

              ii.    The complexity, expense, and length of future litigation
                     support the reasonableness of this settlement.

        The Parties continue to disagree over the merits of the claims asserted

   by Plaintiff. Plaintiff contends that she was not paid for all overtime hours

   worked. Defendant contends that Plaintiff was paid for all compensable

   hours worked. Defendant further contends that even assuming arguendo

   Plaintiff worked any time that she was not paid for, such time was de

   minimis. If this case is litigated further, Plaintiff will bear the burden of

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   proving that she performed work for which she was not properly

   compensated. See Reyna v. Conagra Foods, Inc., No. 3:04-cv-39, 2006 U.S.

   Dist. LEXIS 89690, at *10 (M.D. Ga. 2006), citing Anderson v. Mt. Clemens

   Pottery Co., 382 U.S. 680, 687, 66 S. Ct. 1187, 90 L. Ed. 1515 (1946).

        Defendant, in turn, will have to prove that it kept accurate records of

   Plaintiff’s wages, correctly paid all overtime hours in compliance with the

   FLSA, and other conditions and practices of employment, and that it paid

   Plaintiff the appropriate applicable minimum wage. See Jackson v. Corr.

   Corp. of Am., No. 14-11010, 2015 U.S. App. LEXIS 5193, at *16-17 (citing

   Allen v. Bd, of Pub. Educ., 495 F.3d 1306, 1314-15 (11th Cir. 2007)). Should

   this matter proceed, the Parties will bear the substantial expense of

   litigating these disputed issues. This settlement, therefore, is a reasonable

   means for all Parties to minimize future risks and litigation costs.

             iii.   There has been sufficient investigation and exchange of
                    information to allow the Parties to make educated and
                    informed decisions.

        The next factor the court should consider is the stage of the proceedings

   and the amount of discovery completed. The Parties have exchanged

   information regarding the Plaintiff’s hours worked and compensation, and

   the Parties’ counsel have had additional discussions and exchange of

   information relating to the claims and defenses. In agreeing upon the

   proposed settlement, the Parties exchanged sufficient information to allow


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   them to make an educated and informed analysis and conclusion.

                 iv.     Plaintiff’s probability of success on the merits is uncertain.

        Plaintiff’s probability of success on the merits are also uncertain,

   further suggesting that this settlement is fair and appropriate. Plaintiff

   asserts that the Defendant did not correctly compensate the Plaintiff for all

   hours worked over 40 hours per week. Meanwhile, Defendant contends that

   it did properly pay Plaintiff for overtime hours worked and that Plaintiff has

   been compensated for all amounts to which she was entitled. Defendant

   believes it can present credible evidence that Plaintiff was paid the at one

   and half times her regular hourly rate of pay for all hours worked over 40

   hours per week.

            v.         Plaintiff’s range of possible recovery.

        After a review of all relevant records, Plaintiff estimates her damages

   at $900 ($1,800 including liquidated damages). Here, Plaintiff will receive

   $1,900.00, which is $100.00 more than 100% of her alleged damages,

   including any alleged liquidated damages.               That additional $100.00 is

   sufficient consideration for Plaintiff agreeing to the general release and non-

   disparagement clauses of the settlement .

            vi.        The Parties weighed the opinions of counsel in deciding whether
                       to settle.

        Finally, all Parties were represented by counsel who have experience

   litigating FLSA claims. The Parties weighed the opinions of their counsel in
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   deciding whether to settle. Accordingly, the Court should find that their

   recovery is a fair and reasonable settlement of a bona fide dispute.

         C.    The “Compromise”           of   Plaintiff’s   FLSA     Claim     is
               Reasonable.

        There is a bona fide issue as to whether Plaintiff worked the number of

   hours she is claiming. The settlement is a fair resolution of a bona fide

   dispute because both Parties risk the possibility that the Court or a jury

   would find against them should this matter proceed to trial.

        Additionally, Plaintiff did not unfairly “compromise” her claims.

   Plaintiff’s damage calculations discussed between the parties after

   exchanging documents and information related to the allegations, asserted

   that she was owed up to $1,800.00, which is comprised of $900.00 in back

   wages and an equal amount in liquidated damages. In the settlement,

   Plaintiff receives a total amount of $1,900.00, which is more than her claimed

   damages. Therefore, there is no compromise.

         D.    The Attorneys’ Fees to be Paid as Part of the
               Settlement are Fair and Reasonable.

        The last element the Court should evaluate in determining fairness of

   the settlement is the reasonableness of the proposed attorneys’ fees. See

   Helms v. Central Fla. Reg. Hosp., No. 6:05-cv-383-Orl-22JGG, 2006 U.S.

   Dist. LEXIS 92994, at *6-7, (M.D. Fla. Dec. 21, 2006); Strong v. BellSouth

   Telecomms., Inc., 137 F.3d 844, 849-50 (5th Cir. 1998). The attorney’s fees


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   and costs that the Parties agreed upon for Plaintiff’s counsel, were negotiated

   separately from and without regard to the settlement sums being paid to

   Plaintiff. See Bonetti v. Embarq Mgmt. Co., 715 F. Supp. 2d 1222, 1228 (M.D.

   Fla. 2009) (stating, “if the parties submit a proposed FLSA settlement that

   (1) constitutes a compromise of the Plaintiff’s claims; (2) makes full and

   adequate disclosure of the terms of settlement, including the factors and

   reasons considered in reaching same and justifying the compromise of the

   Plaintiff’s claims; and (3) represents that the Plaintiff’s attorneys’ fee was

   agreed upon separately and without regard to the amount paid to the

   Plaintiff, then, unless the settlement does not appear reasonable on its face

   or there is reason to believe that the Plaintiff’s recovery was adversely

   affected by the amount of fees paid to his attorney, the Court will approve

   the settlement without separately considering the reasonableness of the fee

   to be paid to Plaintiff’s counsel.”). The attorney’s fees and costs negotiated

   separately in this matter are fair and reasonable.

                                  CONCLUSION

        As demonstrated above, the settlement terms are fair, reasonable, and

   adequate. Thus, the Parties hereby jointly stipulate that the case should be

   dismissed with prejudice pursuant to Federal Rule of Civil Procedure 41(a),

   upon approval of the settlement by the Court as requested above, and for the

   Court to retain jurisdiction in order to enforce the terms of the settlement


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   agreement if needed.

        WHEREFORE, the Parties respectfully request that the Court (i)

   GRANT this Joint Motion for Approval of the Settlement; (ii) APPROVE the

   settlement outlined in this motion and the attached settlement agreement

   and dismiss the lawsuit with prejudice; and (iii) GRANT such further relief

   as the Court deems appropriate.



   Date: October 14, 2021.



    /s/ Carlos V. Leach, Esq.            /s/ Shaina Thorpe, Esq.
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                          CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on this          14th day of October, 2021., the

   foregoing was electronically filed with the Court by using the Southern District

   of Florida’s CM/ECF portal, which will send a notice of electronic filing to all

   counsel of record.



                                       /s/ Carlos V. Leach, Esq.
                                       Carlos V. Leach, Esq.
                                       FL Bar No.: 540021




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